 Case 1:22-cv-01257-GBW Document 31 Filed 05/08/23 Page 1 of 5 PageID #: 571




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

 ROBOTICVISIONTECH, INC.

              Plaintiff,
                                       C.A. No. 1:22-cv-01257 GBW
        v.

 ABB INC.

              Defendant.

      DEFENDANT ABB INC.’S OPENING LETTER BRIEF IN SUPPORT OF ITS
                    MOTION TO STRIKE PLAINTIFF’S
       IDENTIFICATION OF ACCUSED PRODUCTS AND TRADE SECRETS




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Dated: May 8, 2023
    Case 1:22-cv-01257-GBW Document 31 Filed 05/08/23 Page 2 of 5 PageID #: 572



Dear Judge Williams:

        Defendant ABB, Inc. (“ABB”) hereby moves to strike Plaintiff RoboticVisionTech Inc.’s
(“RVT”) March 31, 2023 Identification of Accused Products and Trade Secrets (Ex. A) because
the disclosures improperly expand the scope of the accused products well beyond the product
identified in the Complaint, and do not describe the purported trade secrets with “particularity.”
(D.I. 27 ¶ 3(a)).

      1. Expansion of Accused Products from “FlexVision” to “robotic vision technology”

          The only product accused of infringement in RVT’s Complaint is FlexVision.

      •   RVT accuses “ABB’s FlexVision product” of infringing the ’755 patent, which RVT
          alleges is “directed to ‘[a] method of three-dimensional handling of an object by a robot
          us[ing] a tool and one camera mounted on the robot and at least six target features which
          are normal features of the object.’” (D.I. 1, ¶¶ 143-144).

      •   RVT accuses “ABB’s FlexVision product” of infringing the ’814 patent, which RVT
          alleges “covers a system and method for ‘three-dimensional pose estimation for target
          objects, using one or more images sensors to acquire images of the target object at one or
          more positions.’” (Id., ¶¶ 151-152).

      •   RVT accuses “ABB’s FlexVision product” of infringing the ’237 patent, which RVT
          alleges “covers ‘[a] method of three-dimensional object location and guidance to allow
          robotic manipulation of an object with variable position and orientation using a sensor array
          which is a collection of one or more sensors capable of forming a single image.’” (Id., ¶¶
          160-161).

No other ABB products or class of products is identified. Nor is there an allegation that products
similar to FlexVision infringe.

        RVT’s March 31 Identification of Accused Products expands the scope of these
accusations by alleging that “the accused products in this case are ABB’s robotic vision
technology.” (Ex. A). This is not only broader than the “FlexVision product” identified in the
Complaint, but also significantly broader that the “three-dimensional” “pose” and “object
location” technology allegedly covered by the patents-in-suit. This class of products is so broad
that it includes two-dimensional vision technology, and even bar code readers, that have no
possible relevance to this case.1 This is improper because the Complaint sets forth the cause of


1
 In follow-on correspondence, RVT claimed that it did “not see how the plain meaning of ‘robotic
vision technology’ would cover the use of bar-code readers,” but failed to clarify what this
purported “plain meaning” was and what is included in it. (Ex. E). Further confusing the issue,
RVT claimed that ABB’s Integrated Vision product “may” be included in its broad definition
(Ex. B), even though the publicly available product manual and specification for Integrated Vision
make clear that it is a 2D vision product, and thus unrelated to the 3D vision technology that the
Case 1:22-cv-01257-GBW Document 31 Filed 05/08/23 Page 3 of 5 PageID #: 573
The Honorable Gregory B. Williams
May 8, 2023
Page 2
action and defines the scope of discovery. See Adobe Sys. Inc. v. Macromedia, Inc., No. 00-743-
JJF, slip op. at 4 (D. Del. Nov. 9, 2001) (Ex. F) (products “not named in the Complaint . . . are
beyond the scope of discoverable materials”). RVT’s disclosures are also deficient because they
fail to “specifically identify” which “asserted patent(s)” the broad swath of products “allegedly
infringe.” DELAWARE DEFAULT STANDARD FOR DISCOVERY, ¶ 4(a).

        RVT tries to justify its expansion of products at issue by claiming it wants full discovery
on “all the products ABB sells and their functionality” so it can then determine what products to
accuse. (Ex. E). RVT also admits that its disclosures may be “too broad” by offering to “amend
[its] positions as appropriate” if it turns out RVT had no Rule 23(g) basis for its allegations. (Ex.
B). RVT’s approach is backwards. “The discovery rules are designed to assist a party to prove a
claim it reasonably believes to be viable without discovery, not to find out if it has a basis for a
claim.” Micro Motion, Inc. v. Kane Steel Co., Inc., 894 F.2d, 1318, 1327 (Fed. Cir. 1990)
(emphasis in original); see also Caliper Tech. Corp. v. Molecular Devices Corp., 213 F.R.D. 555,
558 (N.D. Cal. 2003) (“A party may not obtain documents in order to discover whether it has a
cause of action.”); FED. R. CIV. P. 26(g) (by signing a “disclosure,” a party “certifies” it made a
“reasonable inquiry” the discovery is warranted).

        To seek discovery into unaccused products, a plaintiff must first articulate, “in a focused,
particularized manner, the characteristics or components that the unaccused products must have in
order to suggest that they may infringe the patents-in-suit.” Invensas Corp. v. Renesas Elecs.
Corp., 287 F.R.D. 273, 282 (D. Del. 2012) (finding that plaintiff did not explain how unaccused
products were reasonably similar to accused products); see also Tesseron, Ltd. v. R.R. Donnelley
& Sons Co., 2007 WL 2034286 (N.D. Ohio July 10, 2007) (a party seeking discovery into
unaccused products “must first . . . identify with specificity the component, characteristic, or
element of the product or system that the claimant[] believes will render the product or system
infringing”). RVT’s disclosure of “robotic vision technology” is untethered from its 3D machine
vision patents, and thus fails to describe the scope of what is accused of infringement in the
requisite “focused, particularized manner.” Invesas, 287 F.R.D. at 282.

        The Tesseron case, which Judge Burke relied on in Invensas as setting the “boundar[y] of
the relevance inquiry,” is instructive. Id. at 280. In that case, plaintiff sought discovery into all of
defendant’s “variable data printing systems,” which, like RVT’s disclosure of “robotic vision
technology,” swept in “a broad spectrum of technology” and “include[d] many systems that cannot
conceivably infringe on any of [plaintiff’s] patents.” Tesseron, 2007 WL 2034286, at *11. The
court refused to order discovery into the unaccused products because, as RVT did here, the plaintiff
failed to specify “the component, characteristic, or element of the system that must, in its view,
exist for infringement to occur.” Id. at 12; see also Honeywell Int’l Inc. v. Audiovox Commc’ns
Corp., 2005 WL 3988905, at *1 n.2 (D. Del. Oct. 7, 2005) (plaintiff’s disclosure that “all [of
defendant’s] cellular phones infringe,” failed to “specifically identify [the] accused products”).
Like the disclosures in Tesseron and Honeywell, RVT’s disclosure of “robotic vision technology”
is so broad it includes a “vast universe of technology far removed from anything [RVT] can
credibly claim as infringing its patents” and RVT does not provide a “basis for believing that [the
unaccused products included in its broad description] are infringing.” Tesseron, 2007 WL


patents-in-suit are allegedly directed to. (See Ex. C at 9-10 (Integrated Vision is used “for 2D part
location”); Ex. D (“The Integrated Vision system works in 2D.”); D.I. 1, ¶¶ 144, 152, 161).
Case 1:22-cv-01257-GBW Document 31 Filed 05/08/23 Page 4 of 5 PageID #: 574
The Honorable Gregory B. Williams
May 8, 2023
Page 3
2034286, at *5; Honeywell, 2005 WL 3988905, at *1 n.2. Since RVT does not come close to
justifying the breadth it seeks, its disclosures should be stricken.

   2. RVT fails to identify its trade secrets with particularity

         The Court should strike RVT’s disclosure of its purported secrets because that disclosure
fails to conform to the parties’ agreement or Third Circuit’s precedent. The Parties agreed that
RVT would identify its trade secrets “with particularity” at the start of fact discovery (D.I. 27 ¶
3(a)), but RVT’s disclosures simply parrot the descriptions of five categories of purported trade
secrets contained in RVT’s Complaint. The categorical descriptions in RVT’s disclosure do
nothing to clarify the issues involved in the dispute.

        The Third Circuit applies “the ‘reasonable particularity’ standard to determine whether a
party alleging a claim for misappropriation of trade secrets has sufficiently identified its trade
secrets before it may compel discovery of its adversary’s trade secrets.” Mallet & Co. Inc. v.
Lacayo, 16 F.4th 364, 383 n. 22 (3d Cir. 2021). This disclosure requirement is “intended to clarify
the issues involved in the dispute so as to assure that there will be no disclosure of an adversary
litigant’s trade secrets beyond what is necessary for the prosecution of the litigation” and “to ensure
that defendants are put on notice of the claimed trade secrets early in the litigation, preventing
defendants from being subject to unfair surprise on the eve of trial.” SmithKline Beecham Pharm.
Co. v. Merck & Co., Inc., 766 A.2d 442, 447–48 (Del. 2000); see also Leucadia, Inc. v. Applied
Extrusion Techs., Inc., 755 F. Supp. 635, 637 (D. Del. 1991) (“disclosure of plaintiff's trade secrets
prior to discovery of defendant may be necessary to enable the defendant and ultimately the Court
to ascertain the relevance of plaintiff's discovery”).

        RVT’s Complaint identifies five categories of purported secrets, but those categorical
descriptions are not described with requisite particularity. (D.I. 1 at ¶¶ 58-65). While RVT’s
descriptions use many words, they only describe the problem RVT’s source code purportedly
solves, not the allegedly secret solution. For example, for the category “Feature qualification,”
RVT alleges that its approach uses “certain thresholds” without identifying what the thresholds
are; says that it “runs statistical calculations” without identifying what the calculations are; alleges
that RVT’s software will discard features that it detects are “not co-planar, to an optimized degree,”
but fails to identify how the software does so. (Id. ¶ 58). The other four categories are similarly
vague. (Id. ¶¶ 59-65). These public statements do not—and cannot—convey the alleged secrets
with any degree of particularity because they are public.

        There is a simple fix. RVT alleges that the five categories of purported trade secrets are
embodied in the source code for eVF software. (D.I. 1 ¶ 57). RVT should simply identify where
the specific lines of code that it alleges embody the five alleged categories of secrets are found in
its source code. Other courts have ordered plaintiffs to do the same. See e.g. Moog Inc. v. Skyryse,
Inc., 2022 WL 16852364, at *2 (W.D.N.Y. July 22, 2022) (“Were the plaintiff alleges
misappropriation of source code, it should identify the specific lines of code or programs claimed
to be secret.”). RVT could easily do this, but it refuses this common-sense proposal. RVT argues
it should be able to wait until after fact discovery closes to identify the source code it claims
embodies its trade secrets. Identifying the alleged trade secrets after fact discovery would defeat
the purpose of guiding the scope of discovery and would open the door to RVT sandbagging ABB
after discovery closes. For these reasons, RVT’s deficient identification should be stricken.
Case 1:22-cv-01257-GBW Document 31 Filed 05/08/23 Page 5 of 5 PageID #: 575
The Honorable Gregory B. Williams
May 8, 2023
Page 4
                                          Respectfully,




                                          Benjamin J. Schladweiler


cc.    All Counsel of Record via CM/ECF
